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Attorney for Owner/Requestor
HB Productions, Inc.

                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII



 In re Subpoena to                        )   Case No.: 1:19-mc-300
                                          )   (Copyright)
 Namecheap                                )
                                          )   APPLICATION FOR 512(h)
                                          )   SUBPOENA
                                          )
                                          )
                                          )


                        APPLICATION FOR 512(h) SUBPOENA


TO: CLERK OF THE ABOVE-ENTITLED COURT:

      Pursuant to 17 USC 512(h) (hereafter: “512(h)”), HB Productions, Inc.

(hereafter: “Owner”) hereby apply for issuance of a subpoena to Namecheap (the

service provider) to identify alleged infringers of Owner’s Copyright protected

motion picture. The following websites distribute torrent files of the motion picture:


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         https://www.mkvcage.fun/?s=Hellboy
         https://www.mkvcage.fun/hellboy-2019-720p-brrip-hevc-750mb/
         https://www.mkvcage.fun/hellboy-2019-1080p-brrip-6ch-2-3gb/
         https://www.mkvcage.fun/hellboy-2019-720p-brrip-1-1gb/
         https://www.mkvcage.fun/hellboy-2019-1080p-amzn-web-dl-6ch-2-2gb/
         https://www.mkvcage.fun/hellboy-2019-1080p-web-dl-6ch-2gb/
         https://www.mkvcage.fun/hellboy-2019-720p-web-dl-950mb/
         https://www.mkvcage.fun/hellboy-2019-720p-hc-hdrip-950mb/


         The following websites promotes and distributes the app “CotoMovies” that

illegally streams the motion picture:

         cotomovies.com



         512(h) provides the copyright owner with a mechanism to request a subpoena

from this Court. Particularly, 512(h)(1) provides:

          (1)Request.—

         A copyright owner or a person authorized to act on the owner’s behalf may request the clerk of any United States

district court to issue a subpoena to a service provider for identification of an alleged infringer in accordance with this

subsection.

         As stated in the Declaration of Counsel, the undersigned represents the Owner

of the Copyright protected subject matter.

         512(h)(2) provides:

         (2)Contents of request.—The request may be made by filing with the clerk—

         (A) a copy of a notification described in subsection (c)(3)(A);

         (B) a proposed subpoena; and




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         (C) a sworn declaration to the effect that the purpose for which the subpoena is sought is to obtain the identity of

an alleged infringer and that such information will only be used for the purpose of protecting rights under this title.

         The undersigned provided a copy of the notifications described in subsection

(c)(3)(A) [See Exhibits “1” and “2”], a proposed subpoena and the sworn declaration.

         512(h)(3) provides:

         (3) Contents of subpoena.—

         The subpoena shall authorize and order the service provider receiving the notification and the subpoena to

expeditiously disclose to the copyright owner or person authorized by the copyright owner information sufficient to

identify the alleged infringer of the material described in the notification to the extent such information is available to the

service provider.

         The proposed subpoena is in accordance with 512(h)(3).

         512(h)(4) provides:

         (4) Basis for granting subpoena.—

         If the notification filed satisfies the provisions of subsection (c)(3)(A), the proposed subpoena is in proper form,

and the accompanying declaration is properly executed, the clerk shall expeditiously issue and sign the proposed subpoena

and return it to the requester for delivery to the service provider.

         As the undersigned has provided the notification, the proposed subpoena in

proper form, and the properly executed declaration, the clerk must issue and sign the

proposed subpoena. 512(h)(4) provides that the Clerk, not a Judge should issue and

sign the proposed subpoena.

         512(h)(6) provides that “…the procedure for issuance and delivery of the

subpoena…shall be governed to the greatest extent practicable by those provisions of

the Federal Rules of Civil Procedure governing the issuance, service, and


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enforcement of a subpoena duces tecum”. That is, 512(h)(6) provides that the

procedures for the Rule 45 subpoena shall govern. The proposed subpoena is a Rule

45 subpoena.

      For these reasons, the undersigned request that the Clerk of the Court

expeditiously issue and sign the proposed subpoena and return it to the undersigned

via ECF to be served on the service provider Namecheap.

      DATED: Kailua-Kona, Hawaii, August 12, 2019.



                               CULPEPPER IP, LLLC


                               /s/ Kerry S. Culpepper
                               Kerry S. Culpepper

                               Attorney for Owner/Requestor




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